Case 2:04-cr-20140-.]PI\/| Document 213 Filed 07/27/05 Page 1 of 2 Page|D 287

IN THE UNITED sTATEs DISTRICT COURT "l“~-*if“f?* W( e.c.
FoR THE WESTERN DISTRICT or TENNESSEE
WESTERN DIVISION 95 JUL 27 PH l= |h

 

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WU 1

V.

CHRISTOPHER DEWAYNE KELLY 04Cr20140-2-Ml

 

SUPERSEDING INDICTMENT
ORDER ON ARRAIGNMENT

 

This cause came to be heard on Q/[,{/£M g 7_ gao$ the United States Attorney
for this district appeared on behalf of the go@rnmeét, and the defendant appeared in person and with

counsel: _
NAME w SMM/¢- who is Retained/Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended
Ph/e defendant, Who is not in Custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal. “__*_H-

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UNITED STATES MAGISTRATE ]UDGE

 

CHARGES - 18:1951.F
INTERFERENCE WITH COMMERCE BY THREAT OR VIOLENCE

Attorney assigned to Case: T. Arvin

Age: /q

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UNITED `sATEs DISTRICT COURT - WESTERN D's'TRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 213 in
case 2:04-CR-20140 Was distributed by faX, mail, or direct printing on
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Tony R. Arvin

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Honorable J on McCalla
US DISTRICT COURT

